     Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 1 of 8




                                                TERM SHEET
           FORTHE RESTRUCTURINGOFCERTAINDEBTSANDOBLIGATIONS
  RELATED TO THE COMMERCIAL PARCEL AT THE FJLLMORE HEMTAGE CENTER
               AT 1310 FILLMORE STREET (ASSESSOR'S BLOCK 0732, LOT 033)

 This non-binding term sheet for the restructuring of certain debts and obligations related to the Fillmore
HeritageCenterat 13iO Fillmoi-eStreet(the "Term Sheet"),datedasof March3, 2014,is herebyagreed
  to by thefollowingparties: (i) tlie OfficeofCommunityInvestment andInfrastructure,the successor
 agency to the Redevelopment Agency ofthe City and County ofSailFrancisco, a public body, corporate
andpoliticofthe StateofCalifornia("OCII"or (lie "SuccessorAgency"), (2) (heCity andCoiiiityofSail
   Francisco,actingby andtlii'ouglithe Mayor'sOfficeofHousingandCommunity Development(the
"City"), (3) Fillinore Development Coinmercial LLC, a California limited liability company ("FDC"), (4)
SN Fiilinore LLC, a California liinited liability company ("SN Fiilinore"), (5) Fillinore JazzClub, LLC, a
 California limited liabilitycompany("FJC"),and(6) Fillmore EntertahimentGroup LLC,a California
 limited fiabilitycompany("NevvCo"),(together, the"Parties"), ThisTerm Sheetsummarizescertain
 basic tenns related to the restructuring ofOCII's ground lease with FDC (the "Ground Lease"), OCII's
 tenaiit improvement loanwith FJC(the"TI Loan"),and theCity's ioaiiwith FDC(the "Section 108
Loan"), ThisTenn Sheetis non-bindingon theParties,but ratherserves asthe basisfor negotiatingand
 drafting final documents   reqi fh'ing approval from tiie Siiccessor   Agency Commission,   OCII's   Oversight
Board,and tlie StateDepartmentofFinance("DOF"). Accoi-dingly,ill llglit offile foregoitig,theParties
wishto describetheiruiiclerstandingaboutfina!agreeineiitsthattheyarewillingto negotiatein goodfaith
    regarding the potential restructuring of the Ground Lease, the TI Loan, and tlie Section 108 Loan.


                                                    TERMS

Sectjoit 1; Joint OCII/CifyDeal Points

    1. Iiutia!FJCequity($1.683 niillion) doesnot receivepriority repayment, andis iiot includedin
        workoiitdeal.
   2. No six-month grace periodforforgivenessofCity/OCIldebts in exchangefor deed-in-lieu(tliat
      is a one-time, iiow-or-neveroffer).
   3. Revenue and expenditiire budgets as prepared by FDC aild agreed to by City/OCII (attached),
   4, FDCwill deposit intoescrowa ReleaseofGroundLeaseRightswhichwill beexercised
        aiitoinatically if the any scheduled payments are missed and not cured within 60 days. Scheduled
        payments include payments due to the City, OCII, property taxes, and CAM charges clue to the
        HOA.
    5. NewCo wili assiime the CBT aiid Key Bank tenant improvement loans.
   6. Come tojoiiifagreementoil legal issuesassociatedwith ReleaseofGroimd LeaseRights,
        subleases, and additional liens,


Section 2: City Deal Points


    1. City will forgo the existing late charges due under the current Section ] 08 Loan, approximately
       $ 127, 000. City will also reduce tlie interest rate for existing missed payments under the current
        Section 108Loanfrom 10%to 6,25%, approximately$63,000. This results in anestimatedpast-
        due amount of approximately $1. 304 million,
    2, Interest rate will remain 6.25%.



                                                                                                      Term Sheet
                                                Debt Restructuring ~ Commercial Parcel, t?illmore Heritage Center
                                                                                                       Page 1 of 4
        Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 2 of 8




   3. Payments to the City on tlie past-clue amount will follow the quarterly payment schedule prepared
        byFDC(attached). As partofthisschedule,FDCagreesto thefull repaymentoftheSection i 08
         Loan delinquency by December 2017,
   4. All property taxes due for FDC and its subtenants will be paid no later than Jtine 1, 2014,
   5. FDC will make a good faith effort to refinance the HUD Sectioii 108 Loan by the end of2017


Section3: OCII Deal Points

   1. TI Loan
         .   Terms have changed. Oversight Board and DOF approval requifed.
         .   Loan is converted from a Voof N01 loan to a fixed payment loan
         .   Interest rate stays the same at 3. 25% (simple interest)
         .   Security is giveii - new UCC-1 filing on tenant improvements
         .   The% ofthe loanattributableto Kazis lost in the bankruptcy(66.7%,or$4.8 million)
         .   The% ofthe loaiiattributableto FJCwill berepaid(33.3%, or $2.4 million)
             o NewCo portioii of loaii ($t .74 inillion, whicti represeiits FJC's% interest iii NewCo)
                . NewCowill make fixed,above-the-iine,paymentsof$5,000a month ($60,000) a
                   year for five years, then 100% ofN01 until loan plus interest is paid in fill!
                . NewCowill pay interestof3.25%(simple iiiterest)
                - Full payment estimatedto be in eiglityears(by 2021)
             o   FDC portion of loan ($660, 000)
                 *   FDC will pay 100% ofN01 after City second mortgage is paid in fiill
                 .   FDC wiil pay interest of 3.25% (simple interest)
                 .   Fui! payment estimated to be in !4 years (by 2027)
         .   My missed loan payment triggers tlie reverter
         .   FDC will also pay back any CAM charges paid by OCII (As ofFebniary 2014, that amount is
             $175, 108)with 100%ofFDCN01(seewaterfallbelow)

   2.    Ground Lease
         .   Terms havechanged. OversightBoard and DOFapproval required.
         »   OCIIgets paid ]00%of FDCcash flow aHerCity second mortgage is paidoff(estimated to
             be in Year 4(2017))
         .   OCII will iise tlie cash flow:
             o FIRST, to pay offCAM charges paid by OCII (as ofFeb2014 = $175, 108), and
             o SECONDto pay off FDC's portion ofTJ loan ($660, 000, plus interest), and
             o THIRDto payoff$3,006,328 balanceon ground lease.
         .   Once$3,006,328 is paid in 18years, FDCwill ovviithecommercial parcel (by 2031)

ExliibitA:       FDCandNewCoCashFiowsReflectingTerm Sheet




                                                                                                     Term Slieet
                                              Debt Restfttcturiiig   Commercial Parcel, Fiilmore Heritage Center
                                                                                                     Page2 of 4
          Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 3 of 8




Acknowledged aiicl Accepted:

THE S^COJESSjOR AGENCY;

c                                                                    Date:      2> -3-/y
    Tiffany Bqliee/J?xecutiye Director
    Office oftpoir/rinimty yi vestment,
    Siiccessor'Agency to^he Redevelopmeiit Ageiicy
    of the City and County of San Francisco, a public body,
    corporate and politic ofthe State of California



    THE CITY:


                                                                     Date:
    Olsoii Lee, Director
    Mayor'sOfficeofHousingand ConununityDevelopment,
    Cityand County ofSailFranciscd,California




                                                                                                      Term Sheet
                                                 DebtRestructuring- CoiniuercialParcel, I-'illmofe Heritage Center
                                                                                                       Page 3 of 4
  Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 4 of 8




Acknowlcclyutl iiiiil Acccplctl:


1<'1)C;



                                                                           .
                                                                               ».-y^
l-'niiiiQiy^ev.clniiiiiuiil Co.mmcrciitl 1, 1.C, n Catifoniiii liiiiilcd li;il)ilily compafiy
By W.h .. ^ - ^. ^SOA/
iis MM^if^ ^^6^




liN FIU. MORK;


        ^fc^^-^-z/v^z^^^P, ^:cT^.^ ^.3^c-l-/ </
SN Filliuore i. l.C, <i C.ililbnu^ liinilcd liabilily compiiiiy
"y ^U^(-.. ^J6y^L-.
its A^^L _"_. __


t'-. lt;:


                                                                                ^. ^w/
                                                                               Datf
i-'illiiifirc J;i//. ClTibJ.LC^rCiilirurWaTiiniU'cl linbiliiy coinpiiiiy
^. /^iL^tBi. e. 'TMs^.
 iis ftiMi/^/^f f^^e^




 M;


                                                                               i».. y^//y'
                    Fnmcnl Ciroiip IJ.C', ii C.'iililoniia liniilcd liability uoinpitiiy
                  iwic^Foro< (-lewtff-c^
 it, Co-W^, ^ /^^B^
                                                                                                                      "I'enii Shed
                                                     Debt Kc.sliiifluriiig Coinim'rci;!! I'iircc]. I'illiiiore I lcril. ige ('ci)ier
                                                                                                                       I'a.w. 'I ol"4
RLLMOREDEVELOPMENTCOMMERCIAL,LLC-CASHFLOWPROJECTION                                                                                                                                                                                                               3/3/2014

                                                            Year:                                        2                  3                    4                   5                   6               7                   8                 9                   10

                                                                                May - Dec            Jan - Dec         Jan . Dec             Jan - Dec           Jan - Dec            Jan-Dec         Jan - Dec          Jan - Dec          Jan- Dec            Jan - Dec
                                                                                  2014                 Z015       Z016                         2017       Z01S                         Z01S             2020               2021              2022                 2023

New Co Base Rent                                                    44,000 S        352,DOG             528,000 $ 523,000 $                     528,000 $ 528,000 $                     543, 840 $       543,S40 $          543,840 $         543,840 S            543,840
1300 Rent Base Rent                                                 10,000 $          80,000            120,000 $ 120,000 S                     120,000 S 120,000 S                     123, 600 $       123. 600 S         123,600 S         123,600 S            123,600
Gallery Rent (New Tenant)                                            1, 000 $          E.OOO $           18,000 $  18,000 $                      1S,000 S   13,000 $                     1S. 540 $        19.096 $           19.669 $          20,259 $             20,867
Total Rent                                                                           440, 000    $      666, 000 S         666, 000 $           666, 000 $          666, 000 $          68S. 9SO $       6E6, 536    $      627, 109    $     687, 699      $      638, 307
                                                                                                             1. 03
New Co CAM Charges                                                     76%            73,750             103,150           111,395              114,736             US,17S               121,724         125,375            129,137           133,011              137,001
1300CAM Charges                                                        16%            16, S79             22,768            23,451               24, 155             24,879               25. 626         26, 395             27. 1S6          2S. 002              2S. S42
Gallery CAM Charges                                                                    S^ES               11.3S5            11,726               1Z,07S              12.440               1Z.S13           13.198             13,594           14,002               14,422
Total CAM                                                             100%           103,618             142,303           146. 572             150, 969            155. 4SS             160, 163        164. 96S           169. 917          175, 014             180,265

New Co Property Tax Share                                              76%            66, 120                68, 104        70, 147              72.ZS1              7S. 41S              76,651           7B,95l            31,319            83,759               S6. Z72

1300 Property Tax Share                                                16%            13, 920                14,336         14,768               1S. 2U              15,667               16, 137          l6, S21           17,120             17. 633             18, 162
Gallery Property TaxShare                                                              6,960                  7, 169            7, 384            7. 60S              7,834                8,069             8,311            8,560             8,817                9,081
Total PropertyTax Collected                                           100%            87, 000             89,610            92, 2SS              95,067              97,919              100,857         103,383            10G.999           110,209              113,515
TOTALREVENUE:                                                                        630,618             897,913           904,870              912,036             913,417              947,000         955,387            964,025           97Z. 923             9S2.087

Total Operating Expenses (Taxes, 0\M)                                               (190.61S)           (231,913)    (238,870)                 (24S.0361           (253,417)            (261, 020)       (26S.SSO)          (276,916}         (285, 223)          (293, 780)
FDC Management Expenses                                               2.7% $          (12,000) S          (18,000) S (18,000)                    (18, 000)           (18, 000)            (IS,720)         (18,720) $        (13,720) $         (1S,720) $          (13,720)
NetOperatinc Income:                                                                 423, 000    S       648, 000      $   648, 000 S           648, 000 $          648, 000      $      667, 260 $       667, 816 $        668, 389 $         668, 979     $      669, 587


Mortgage Amount: (First Morteage)                                                    (360, 1SI) $       (540, 227) S (540, 227) $ (340, 2271 $ (540, 227)                                (540, 227) $  (540, 227) $ (540, 227) $ (540, 227) S (540, 227)
CummulaUve First Mortgage Payments:                                                  (360, 151) $       (540, 227) $ (1, 080, 454) $ (1, 620, 681) $ (2, 160, 908)                     (2,701,135) $ (3, 241, 362) $ (3, 7S1, SS9) $ (d, 321, S16| S (4, 862, 043)
MortgageAmount: (Second Morteaee)                                                      (44, 000) $        (66, 000) S (66, 0001 $         (66, 000)
Cummulatlvc Second Mortgaee Payments-                                                 (44,000) S        (110,000) $ (176,000)|$ (Z'!2,000j|
Total Debt;                                                                          (401, 151) S       (606, 227) $ (606, 227) $               (606, 227) S        |540, 227) S        (540,227) $      iS40,227) $        (540,227) $       (540,2Z7) $          (540,227)

AVAILABLE CASHFIOW:                                                                    Z3.SO $               41,773 $       41,773 $             41,772 $           107,773 $            127.033 $        U7,SS3 $          12S3.6Z S          12S.7S2 ;           129,360
Mos.                                                                                       8                     12             12                   12                      12                 12            12                 12                    12                   12


Shareto City/Mayor'sOffice(M0]%) Until Paidin Full                    100% $           23,849 S              41,773 S       41,773 $                 41,773 $
Shareto FOC(0%) Until Cityis PaidIn Full                                0% $                     $               - $                     s                   $       107,773 $           127,033 $        1Z7,5S9 5          128.16Z $         128,752 S            129,360
CUMMULATIVE PAYMENTS TO CITY;                                                                                                                   las. iss

 FDCBallon Payment:                                                                                                                             l77, DSS


Valuation at Year I & 5:                        Cap Rate:               9% $        4, 755,556                                                               $ 7,200,000

 Cashflow To OCII to Acquire Le3sehold Interest Fee:                  ioo%|         4,013,036 |(1)                                                           $       107,773 $           127,033          127,539 $          128,162 $         12S,7S2 ?            129,360
 Cummulative Payments to OCll;                                                                                                                               $       107,773 $           234,806          362, 395 $         490,557 S         619,309 $            748,669
 Cashflow to FOG:                                                                                                                                            $               - $                                     5
                                                                                                                                                                                                                                                                                 Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 5 of 8
Cummulative Payments to FDC:

                                                            Year:                 11                     12                  13            14               15               16                17                18                   19                   20
                                                                               Jan - Dec              Jan - Dec        Jan - Dec        Jan - Dec        Jon - Dec        Jan - Dec         Jan - Dec         Jan - Dec            Jan - Dec            Jan . Dec
                                                                                 2024                   20ZS               2026           2027             20ZS             2029              2030              2031                 2032                 2033
New Co Base Rent                                                                    5G0.155 S            5G0.1SS S          560,155 $      560,155 $        560,155 $        576, 960 S        576,960 $         576,960 $            S76,960 S            576,360
1300 Rent Base Rent                                                                 127,303 $            127,305 $          127,303 $      127.30S $        127,308 S        131, 127 $        131,127 S         131, 127 ?           131, 127      $      131, 127
Gallery Rent (NewTenant)                                                             21,493 $             21,493 $           21,493 $       21,493 $         21,493 $         22,138 $          22.13S $          22, 138 S           22, 138 $            22,138
Total Rent                                                                          703,956 S            708,956 S          708,956 $      708,956 $        708,956 $        730,225 $         730,225 $         730.22S $           730,225 S            730,225

New Co CAM Charges                                                  76%                141,111            145, 345          149, 705       154, 136         1SS,S22          163, 587          163,491           173.54S              178,755              1S4.11S
1300 CAM Charges                                                    16%                 29,707             30,598            31,516         32,462           33,436           31,439             35,d72           36,536               37, 632              33, 761
Gallery CAM Charges                                                                     14,854             15,300            15,759         16,232           16,719           17,220             17,737           18,265               18.817               19.3SZ
Total CAM                                                           100%               135,673            191,243           196,980        202,890          208,976          215,246           211, 703          228. 3S4             Z3S.205              242,261

New Co Property Tax Share                                            76%                SS,S60             91. 526           94. 271        97, 099         100. 012         103. 013          106,103           109,286              112,565              115,942
1300 Property TaxShare                                               16%                1S. 707            19. 269           19. 847        20. 44Z          21. 055          21. GS7           22,338            23,008               23, 69S              24,409
Gallery Propertv TaxShare                                             s%                 9,354                9. 634          9. 923        10,221           10,528           10,843            11,169            11,504               11,849               12,204
Total Property Tax Collected                                        100%               116,921            120, 428          124. 041       127,762          131.S95          135,543           139,609           143,798              148,112              1S2.5S5
TOTALREVENUE:                                                                     1, 011, 550           1,020,SZ7          1,029,978     1,039,603        1,049,528        1, OS1, OU        1,091,537         1,102,377            1,113,541            1,125,041


Total Opwatine Expenses (Taxes, CAM)                                                (302, 594)           (311, 671)   (321, 021)          (330, 652)       (340, 572)       (350, 789;         (361, 312)        (372, 152)          (383, 316)           (394, 816)
FDC Management Expenses                                                               (13,469) $           (19,463) $ (19,469) $            (19,469) $       (19,469) $       (20,248) $         (20,248) $        (20,242) $          (20,248) $           (20, 248)
Net OperatingIncome:                                                                 683,487 $            659,487 $ 683,437 $              689,437 $        633,487 ?        709,977 $          709,977 S         709,977 $           709,977 $            709,977

tVlortgagc Amount: (First Mortgage)                                                 (540, 227) $  (540, 227) $ (540, 227; $
Cummulative First Mortgage Payments:                                              15,402,270) S (5,942,197) $(6,482,724)
Mortgage Amount: (Second Mortgaee)                                                                5               -    $          - $                                                   $                 s                    s                    $
Total Debt                                                                          (540, 227) $         (510,227) $ (540,227) $                                                        $                 s                    $                    $

AVAILABLECASHFLOW:                                                                     M9,260 S           149,260 $         10,260 S 689,487 S              6S9,4S7          709,977 $         709,977 S         709, 977 $           709,977 $            709,977
MOS,                                                                                       12                  12               12          12                   12               12                12                    12                   12             12
Valuation at Year 14 & 20:                            Cap Rate:       9%                                                           $ 7,660.970                                                                                                      $ 7, SS8,63G

Cashflow To OCII to Acquire Leasehold Interest Fee:                 100% $             149,260 S          149,260 $         149,260 $      6S9.4S7 $        689,487 $        709,977 $          709,977 $          17,657 S                - ?
Cummulative Payments to OC11:                                              $           897,929 $ 1,047,190 $ 1,196,450 S 1,335,937 $ 2,375,425 $ 3.2S5.W2 $ 3,995,379] $ 4,013,036 | $                                                     - $
Cashflow to FDC:                                                      0% S                        $               -$              -$            -$                -$              -S                    -S        692,321 $ 709,977 $ 709,977
Cummulative Payments to FDC:                                               $                      s               -$              -$            -$                -s              -$                    -$        S32.321 $ 1,402,298 S 2, ll2, 27S


U1 Amount eauals:
-$175,108CAM
- $660,000 @ 3.25%over S Years
- $3,006,323 TowardsGround Lease Purchase
                                                                                                                                                                                                                                                                        Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 6 of 8
NEWCO.FINANCIALOPERATINGPROJECTION                                                                                                                                                                                                                                                 3/3/2014


                                                                       1                      23                                           <                        S               6                             789                                                                                    II                     12                     13
                                                                      20"                    2°"                 ;°16                    2017                      2018                ZgiS                     2020             2021          2022                                                     2SZa                   202?                   2026
                                                                   (S Months]             (12 Months)         (12 Month;;)            (12 Months}               [12 Manthsl         (12 Months)              (1Z Months)     (12 Months)    (12 Months)                      (12 Months)             (12 Months)            (12 Months)            (12 Months]
NcfwCo-Snn^rondsco^LLC                                                                                1. 03               L03                       1.03                  1. 03                  1. 03                  1.03           1.03           1.03
Gross Revenue                                                  S    G,GE6,6SS.67 $ 10300,000.1)0 $ 10,603,000.00 $ 10,327,27(3.00 S 11,255,088.10 $ U,S32,M0.7< $ 11,940^22.37 S 12^38,733.65 $ 11,567,700^1 $ 13,047,731.84 $ 13,439.163.73 ( 13^42.338.71 S 14^57,608^7
(Ba-ieAnnual Budcet - $10million)
                                                  1                          ss. <%             25.4K            85.3K                          85.3%                     S5.3»            25^%                         S5.3%              353%              853K                       BS.St,                 SS.3K                  8S^%                    SS.3%
Minus OpcratlnEExpenses                                        S    5. 692. 666. S7   S S.792. G50. 00 $ 3,053, 909. 50 S                132S. 516.79 S          9. 605, 232. 59 $ 9,891, 451. 37 S           10, 190, 25«. 31 $ XO,'13S. 9S2. 5S S IO.E10. SU. 43 S          ll. l3S. 166. 67 S      11.469, 221. 67 J      11,813, 233. 32 S      12, 167, 697. 27
(BaseAnnual Expenses-5S.9 million)
- 5% Savings !n Expenses

.                                                                     352. 000. n0 S         528. 000, 00 S      S2S, OOO. DD S           52S. OOO. OI> $          528, 000, 00 S       5<3, 840. 0n S           S0. 8t0. 00 $       5<3, 8<0. 00 S      543, 840. 00 $          WS.WC. OO $             560. 1SMO S            560. 1SS. 20 S         560.15S.20
    Base Rent:
                          Monthly Rcnt^               44.000
                                                               ;       7o. so9. ca    S      103, 763-00 $       112, 031. 01 S           115, 391. 97 $           113, 853. 73 $       U2.419.M 5               l26.1Bl.92 $        129,S7<.6B $        133,770.32 S            137.784.05 S            141.917. 57 S          UC,175. 10 $           150,560.35
"CAM: (NO TNFIALREDU010N)
-Propcrtv Taxes: (NO IMTtAl REDUCTIQNl                         S       44.080.00      S       e6. l20. 00 S       66. i20. co S            6S, UO. OD $             E6. 120. CO $        66.120.00 S              66.120.00 $         66.120.00 S         66,120. 00 S            66.120.00 S             66,120.00 S            6S.120.00 S            66. 120. 00


SBA Loan:
- CBT Portion:
     -Bilanu:$518,000-EST                             550, 000 $       56, 000. 00    s       wma.oo s            M.OCO.OO s               M.OOO.DO s               M.OOO.OO s          los.ooo. oo s
     - Extended Term to 3, 5 Yri
. Key Bnnl< Participation Portion;
     -Balance: $410, 000                              410,000 $        13.66G. 67     S       5S.30Q.OU $         SS.SOO.OO $              58.SOO.OO S              SE.HK1.00 S         176,<OO.OI) $
     - Intn-Kt Only for 12 Months 6> S. Ot

^A^errcyT    Uoarr                                             ? .io.coo.eo           $       BOiooo. od .<       6o,poi). og     i. .      ec.oopi go.     ? .     ED.OOO. O.O



    NET INCOME: JNO] Am" for Debt)                             $      337,853-33 $           601,663.00 <        6fl6.139.<6 S             6S3.431.2S $            734,021.78 $         683.S10.03 $           1,014,210.14 $ 1,062,S41.<2 $ 1,113.US.<6 $                      1.1&1.821.I2 $         1,201,70.35 S          1,250,530.03 $         1.313.056.04

    New Notes:
    Gty/Mayor%>Office NewNote
                                                       27.00X $        107,420.40     $       1G2, <48. 7< $     171, <57. 6S S            186. 246.^
                                                              $        107.420.40     5       263, 863. 11 $     W, 3!6. 79 ] S            630, 873. 23 |
    - Preferred Return @ 3%
    New FJCNote
    - ssoo.ooo                                         36.50% S        145,216.47 S           2U,G06,63 S        23S.M0.90 i                13.124.63
    - Prcfffrred Rccum @ 12%
     S                       6SO,000
    SN FIIlmoro Equity Note
    -SSDO.OOO                                          36. 50% S       U5. 21G. <7 $          219. 606. 63 $      235, S<10. 90   $         43. l24. G3
    - Preferred Return @i12%
     $                       6SO.OOO
    MinusMOHCODdlnqumcv Note [Banon)                                                                                              $        flI0.3M.25 |
     AVAttADU: CUHFLOW:                                                                                                                        6.1D9-29     S       734. 021. 78 S       682, 510, 03 S         1. 014, 216. 14 $ 1, 062, 9<1. 42 $      1, 113, 128. 46 S      l. lM^ll. 12 $          1, 201, 719. 35 S      1, 2SG, S90. 09 $      yl3. 076. 04


    Minus 5N fitlmare Note
    $1,250, 000 @ »f.
    - Preferred Return <S>3%
                                                                                                                                                 6, 103 S            734, 021. 78 ?      361. 3G2. 92
     5N Flllmorc Note Cummulatlvc Amount                                                                                                       312. 109 S         1, 076. 131. 08 S     W37. 500. 00
     S                               1,437, 500

                                                                                       s              - s                      $                            $                       ?       321, 1<1 S             l, OK, 2IG $        l, 062, 9ai   ?      1. 113. UB $           l, 16fl, SZl S          1,201/7<9 S            I,25G,S90 S               1.313. 076
     AVATIABIE CAStiFlQW:
     Dlstrlbutlan to 001 Tar Tl Loan;                                       <0,000     $          60. DOO S            60,000 S                    60.001) $            60,000 S            321.K1 S               1, 011. 216 S          <S3, 707   $              - S                          s                   $                         s
                                                                            40,000     S         100, 000 $           ^fi0,oao 5               220. 0m S               zso,ooa $            601, 141 $                                                                             2.COS.065 5             2, 075, 065 $          2, 075, 063 $          2,C75,06S
     Cummulatlvc    Distribution to 001:                                                                                                                                                                           1.61S.3S7 | S       2.075.06S | S        2,075,OGS S
     Distributionto Ncu/ Co-forTI Loan:                                                                                                                 $                      s                         s                       ;      603.234 $  1.113.12S $                     1.1&1.S21 S             1.201.70 $             1.256. S9CI S          1313.076
                                                                                                                                                        s                      $                         $                       S      603, 23< $ 1,716362 $                      ;,asi,184 s             <.08I, 933 $           S.339, 513 ?           6,652^39
     Curtimulatlw   Distribution to New Car
                                                                                                                                               4                                            6                      7                    s         g                                10                      11                     12                     13
                                                                                                                                                                                                                                                                                                                                                                         Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 7 of 8




                                                                                               2015                2S1G                     2017                                          2011                   2020                 2021                 2022                   2023                   3024                    2025
                                                                                                                                                3/3/20U


       14                    15                   16                      17                     18                    19                     20
      SBtZ                  S3S                  SSS                     aao                    2031                  203;                   2033
    (UMonthi)             (UMontbs)            (UMonth!;)             (12Months)              (UMonshi)             (UMonths)             (IZMonthi)
              1.03                  1.03                 1.03                    1.03                1.03                      1.03                   1.03
(   K.6S5. 337. 13 $      15425, 397-25 S      15^79, 674. 17 S       16, 047, 064^9 (        WS3S/C7KS $           17, aZ»3i0. a $       17, 335, 060, 53

              8S. 3K               85, 3%                K. W,                  8S, W                   8S. 3X.               65. 3%                 S53%
S   12. 53Z. 728. 19 S    12, SO    0. 04 $    l3. 235. S7U4 $         U, 694, 850. 4S $      14, 105, 655. 99 S    14, 528. 366. 37 ?     14, 364, 732. 38




       560, 155. 20 ?        360. 15S. 20 ?       S76. 959. E6 ;         S76, 959. S6 ?          576. 95S. 36 $        S76. 95S^G ?

       1SS. 077. 1S S        159.729.47 S         1M.S21.36 $            16S.4S7.00 $            174,540.71 $          179,776.33 $           1S5,170,;<
        6G.120.00 $           66. 120. 00 S        w. ucm $               66,120.00 S             66.120.Dfl S          66,120.00 S            66.iai.OD




s    isfiswss        s      t^3i, i82-54   $     1.476, 101. 61   $     l, 539, 677. 0G S      1>G(B^S9. 76 S         1, 672, 606. 95 S     1, 7<2, 077^6




S     1.371. 25G. 5B S      t/!i», ta3. 54 $     1/176A01. 61 ?         1, 533, 677. 06   S     1. 605, 159. 76 $     1.672, 606, 95 $       1,742, 077. 56




         iyn.?si ?             I,4U^3              1^76, 102 »             1^39,677 $              1,605, 160 ?          l,67Z.E07 ;            1,742,1m
                      $                                         $                       $                      $                      ;
         1, 075. 065 ;         2.075.0SS           2,075,065 $             2. 075. 065 S           2,075, 16s S          t.an. ces $            z,07S. oes
         1, 371. 257 $         1/S3US3              1,476. 102 ?            1, S39. 677 $          1,61». I60 ?          1, 672. 607 $          l. Mi. OTS
         8,023, 856 $          9,4SS,032           wssuw $                TVflO^W ?               14, 075. 977 $        IWWSf $                17/150, 661
         u                     15                  16                      17                     IS                     39                     20
                                                                                                 awi
                                                                                                                                                              Case 3:18-cv-06830-RS Document 131-3 Filed 04/28/21 Page 8 of 8




       3BZ                                                                2030                                                                 saa
